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 8
                                   UNITED STATES DISTRICT COURT
 9
                          FOR THE WESTERN DISTRICT OF WASHINGTON
10
                                            SEATTLE DIVISION
11
     G&G CLOSED CIRCUIT EVENTS, LLC, a             )        Case No.
12   California limited liability company,         )
                                                   )        COMPLAINT
13                    Plaintiff,                   )
                                                   )        Theft of Satellite or Cable Signal
14           vs.                                   )        (47 U.S.C. § 605;
                                                   )         47 U.S.C. § 553)
15   MEZCALES GRILL, LLC, a Washington             )        and Trespass of Chattel
     limited liability partnership, d/b/a Mezcales )
16   Grill; CRISTOBAL MONDRAGON and the            )
     marital community of Cristobal Mondragon and )
17   Sandra Mendoza,                               )
                                                   )
18                    Defendants.                  )
                                                   )
19

20   PLAINTIFF ALLEGES:
21                                            JURISDICTION
22          1.      Jurisdiction is founded on the existence of a question arising under particular
23   federal statutes. This action is brought pursuant to several federal statutes, the federal
24   Communications Act of 1934, as amended, 47 U.S.C. § 605, et seq., and The Cable &
25   Television Consumer Protection and Competition Act of 1992, as amended, 47 U.S.C. § 553, et
26   seq.
                                                                                     WYSE KADISH LLP
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 1           2.       This Court has jurisdiction of the subject matter of this action pursuant to 28

 2   U.S.C. § 1331, which states that the District Courts shall have original jurisdiction of all civil

 3   actions arising under the Constitution, laws, or treaties, of the United States. This Court has

 4   subject matter jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367 (supplemental

 5   jurisdiction).

 6           3.       This Court has personal jurisdiction over the parties in this action as a result of the

 7   Defendants' wrongful acts hereinafter complained of which violated Plaintiff's rights as the

 8   exclusive commercial domestic distributor of the televised fight Program hereinafter set forth at

 9   length. The Defendants' wrongful acts consist of the interception, reception, publication,

10   divulgence, display, exhibition, and taking of said property of Plaintiff within the control of the

11   Plaintiff in the State of Washington.

12           4.       Defendant MEZCALES GRILL, LLC is a Washington limited liability company

13   registered under the Secretary of State’s Unified Business Number 604 023 419, which was and

14   is doing business under name “Mezcales Grill,” and which at all times material herein was doing

15   business in the state of Washington.

16           5.       Defendant CRISTOBAL MONDRAGON (“Mondragon”) is a resident of the state

17   of Washington, in King County.

18           6.       Upon information and belief, Mondragon is married to Sandra Mendoza and thus

19   forms a marital community. Mondragon’s violation of the statutes referenced herein has been in

20   the furtherance of the marital community.

21                                                   VENUE

22           7.       Pursuant to 47 U.S.C. § 605 and § 553, venue is proper in the District of

23   Washington, because a substantial part of the events or omissions giving rise to the claim

24   occurred in this District.

25                                   INTRA-DISTRICT ASSIGNMENT

26           8.       Assignment to the Seattle Division of the Western District of Washington is
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 1   proper because a substantial part of the events or omissions giving rise to the claim occurred in

 2   King County, and/or the United States District Court for the District of Washington has decided

 3   that suits of this nature, and each of them, are to be heard by the Courts in this particular

 4   Division.

 5                                               THE PARTIES

 6          9.        Plaintiff, G&G Closed Circuit Events, LLC, is, and at all relevant times

 7   mentioned was, a California limited liability company with its principal place of business located

 8   at 2925 Green Valley Parkway, Suite D, Henderson, Nevada 89014.

 9          10.       Mezcales Grill LLC owns and operates, or did operate at all material times, the

10   commercial establishment doing business as “Mezcales Grill” operating at 14018 Aurora Avenue

11   North, Seattle, WA 98133 (the “Business”).

12          11.       Mondragon was, and is, an individual specifically identified as a member and

13   governor of defendant Mezcales Grill, LLC. See Washington Secretary of State record under

14   Unified Business Number 604 023 4191.

15          12.       Plaintiff is informed and believes, and alleges thereon that Mezcales Grill, LLC is,

16   or was at all material times, the owner and/or operator, and/or licensee, and/or permittee, and/or

17   entity in charge and/or with dominion, control, oversight and management of the Business.

18          13.       Plaintiff is informed and believes, and alleges thereon that Mondragon,

19   individually and as a member and governor of Mezcales Grill, LLC, is the owner and/or operator,

20   and/or licensee, and/or permittee, and/or person in charge and/or with dominion, control,

21   oversight and management of the Business.

22          14.       Plaintiff is informed and believes, and alleges thereon that on Saturday, May 6,

23   2017, the night of Plaintiff's telecast of the boxing fight at issue herein, as more specifically

24   defined in paragraph 18, (hereinafter, the "Program"), Mondragon, as an individual and as a

25   member of and governor of Mezcales Grill, LLC, had the right and ability and the obligation to

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            1
                Available at https://ccfs.sos.wa.gov/#/BusinessSearch/BusinessInformation
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 1   supervise the activities of the Business, which included the unlawful interception of the Program.

 2           15.     Plaintiff is informed and believes, and alleges thereon that, on Saturday, May 6,

 3   2017 (the night of the Program), Mondragon actively, consciously, and specifically directed or

 4   permitted the employees of the Business to unlawfully intercept and broadcast Plaintiff's Program

 5   at the Business, or intentionally intercepted, and/or published the Program at the Business

 6   himself. The actions of the employees of the Business are directly imputable to Mondragon by

 7   virtue of his responsibility for the operation of the Business.

 8           16.     Plaintiff is informed and believes, and alleges thereon that Mondragon had a

 9   strong, obvious, and direct financial interest in the revenue generated from the potential and

10   actual increased patronage of the Business, in the form of sales, tips, and other related income,

11   from allowing or enabling the unlawful interception of Plaintiff's Program. That financial

12   interest included increased profits.

13                                                  COUNT I

14                                      (Violation of 47 U.S.C. § 605)

15           17.     Plaintiff hereby incorporates by reference all of the allegations contained in

16   paragraphs 1-16, inclusive, as though set forth herein at length.

17           18.     Pursuant to contract, Plaintiff was granted the exclusive nationwide commercial

18   distribution (“closed-circuit”) rights to “Saul Alvarez v. Julio Cesar Chavez, Jr. Championship

19   Fight Program”, telecast nationwide on Saturday, May 6, 2017 (this included all under-card

20   bouts and fight commentary encompassed in the television broadcast of the event, herein referred

21   to as, the “Program”).

22           19.     Pursuant to contract, Plaintiff entered into subsequent sublicensing agreements

23   with various commercial entities throughout North America, including entities within the State of

24   Washington, by which it granted these entities limited sublicensing rights, specifically the rights

25   to publicly exhibit the Program within their respective commercial establishments in the

26   hospitality industry (i.e., hotels, racetracks, casinos, bars, taverns, restaurants, social clubs, etc.),

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 1   such as the Business.

 2           20.        As a commercial distributor and licensor of sporting events, including the

 3   Program, Plaintiff expended substantial monies marketing, advertising, promoting,

 4   administering, and transmitting the Program to its customers, the aforementioned commercial

 5   entities.

 6           21.        With full knowledge that the Program was not to be intercepted, received,

 7   published, divulged, displayed, and/or exhibited by commercial entities unauthorized to do so,

 8   each and every one of the above-named defendants, either through direct action or through

 9   actions of employees or agents directly imputable to Defendants, did unlawfully intercept,

10   receive, publish, divulge, display, and/or exhibit the Program at the time of its transmission at

11   their commercial establishment, i.e., the Business.

12           22.        Said unauthorized interception, reception, publication, exhibition, divulgence,

13   display, and/or exhibition by each of the Defendants was done willfully, i.e., actively,

14   consciously, and specifically.

15           23.        Said unauthorized interception, reception, publication, exhibition, divulgence,

16   display, and/or exhibition by each of the Defendants was done for purposes of direct and/or

17   indirect commercial advantage and/or private financial gain.

18           24.        47 U.S.C. § 605, et seq., prohibits the unauthorized publication or use of

19   communications (such as the transmission of the Program for which Plaintiff had the distribution

20   rights thereto).

21           25.        By reason of the aforesaid mentioned conduct, Defendants, and each of them,

22   violated 47 U.S.C. § 605, et seq.

23           26.        By reason of the Defendants' violation of 47 U.S.C. § 605, et seq., Plaintiff has

24   the private right of action pursuant to 47 U.S.C. § 605.

25           27.        As the result of the aforementioned Defendants' violation of 47 U.S.C. § 605, and

26   pursuant to said § 605, Plaintiff is entitled to the following from each Defendant:

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 1                  a.      Statutory damages for each violation in an amount of not less than $1,000,

 2                          and up to $10,000 pursuant to 47 U.S.C. § 605(e)(3)(C)(i)(II); and also

 3                  b.      Statutory damages for each willful violation for commercial advantage or

 4                          private financial gain in an amount up to $100,000.00 pursuant to 47

 5                          U.S.C. § 605(e)(3)(C)(ii), and also

 6                  c.      Recovery of full costs, including reasonable attorney fees, pursuant to 47

 7                          U.S.C. § 605(e)(3)(B)(iii).

 8                                                COUNT II

 9                                     (Violation of 47 U.S.C. § 553)

10          28.     Plaintiff hereby incorporates by reference all of the allegations contained in

11   paragraphs 1-27, inclusive, as though set forth herein at length.

12          29.     The unauthorized interception, reception, publication, divulgence, display, and/or

13   exhibition of the Program by Defendants was prohibited by 47 U.S.C. § 553, et seq.

14          30.     By reason of the aforesaid-mentioned conduct, Defendants, and each of them,

15   violated 47 U.S.C. § 553, et seq.

16          31.     By reason of the Defendants' violation of 47 U.S.C. § 553, et seq., Plaintiff has

17   the private right of action pursuant to 47 U.S.C. § 553.

18          32.     As the result of Defendants' violation of 47 U.S.C. § 553, Plaintiff is entitled to

19   the following from each Defendant:

20                  a.      Statutory damages for each violation in an amount of not less than $250 up

21                          to $10,000.00 pursuant to 47 U.S.C. § 553(c)(3)(A)(ii); and also

22                  b.      Statutory damages for each willful violation for commercial advantage or

23                          private financial gain in an amount up to $50,000.00 pursuant to 47

24                          U.S.C. § 553(c)(3)(B); and also the recovery of full costs pursuant to 47

25                          U.S.C. § 553(c)(2)(C); and also

26                  c.      Plaintiff's reasonable attorneys' fees, in the discretion of this Court,

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 1                          pursuant to 47 U.S.C. § 553(c)(2)(C).

 2                                               COUNT III

 3                                          (Trespass of Chattel)

 4          33.     Plaintiff hereby incorporates by reference all of the allegations contained in

 5   paragraphs 1-32, inclusive, as though set forth herein at length.

 6          34.     The Program was, for purpose of distribution, transmission, and broadcast,

 7   Plaintiff's property. Defendants willfully took and appropriated Plaintiff's property for their

 8   financial gain. They did so without permission of Plaintiff because they did not pay for the

 9   privilege of using the Program, or at least did not pay to Plaintiff what they had to pay to make

10   commercial use of the Program. Defendants gained from that use of Plaintiff’s property.

11   Plaintiff was damaged in the amount of $3,200, although Plaintiff reserves the right to amend

12   that amount or prove a different amount at trial.

13          WHEREFORE, Plaintiff prays for judgment as follows:

14          As to the First Count:

15          1.      For statutory damages in the amount of $410,000.00 against Defendants, and each

16                  of them, including the marital community of Cristobal Mondragon and Sandra

17                  Mendoza, husband and wife;

18          2.      For reasonable attorney fees, as mandated by statute;

19          3.      For all costs of suit, including but not limited to filing fees, service of process

20                  fees, investigative costs; and

21          4.      For such other and further relief as this Court may deem just and proper.

22   As to the Second Count:

23          1.      For statutory damages in the amount of $60,000.00 against the Defendants, and

24                  each of them;

25          2.      For reasonable attorney fees as may be awarded in the Court's discretion pursuant

26                  to statute;

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 1          3.      For all costs of suit, including but not limited to filing fees, service of process

 2                  fees, investigative costs; and

 3          4.      For such other and further relief as this Court may deem just and proper.

 4   As to the Third Count:

 5          1.      For Plaintiff's damages in the amount of $3,200, or to be proved at trial;

 6          2.      For all costs of suit, including but not limited to filing fees, service of process

 7                  fees, investigative costs, and attorney fees if allowed by law; and

 8          3.      For such other and further relief as this Court may deem just and proper.

 9          Dated: May 3, 2019.                      Respectfully submitted,

10                                                   WYSE KADISH LLP

11
                                                       /s/ Bruce H. Orr
12                                                   Bruce H. Orr, WSB No. 19147
                                                     bho@wysekadish.com
13                                                   Of Attorneys for Plaintiff

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